                                      CASE 0:14-cr-00345-PJS-JSM Doc. 7 Filed 10/23/14 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )          COURTROOM MINUTES - CRIMINAL
                                                            )            BEFORE: Jeffrey J. Keyes 6A STP
                                         Plaintiff,         )                U.S. Magistrate Judge
                                                            )
   v.                                                       )    Case No:          14cr345 (2)(PJS/JSM)
                                                            )    Date:             October 23, 2014
NORINH INTHONEPRADITH,                                      )    Court Reporter:   N/A
                                                            )    Courthouse:       St. Paul
                                         Defendant.         )    Courtroom:        6A
                                                                 Time Commenced:   2:38 pm
                                                                 Time Concluded:   2:40 pm
                                                                 Time in Court:    2 Minutes


APPEARANCES:

   Plaintiff:      Kevin Ueland, John Kokkinen, Assistant U.S. Attorneys
   Defendant:      Manny Atwal
                         x FPD           CJA          Retained     x To be appointed
   Interpreter / Language:       None / English
   Date Charges Filed: October 21, 2014               Offense:       Bank Fraud/Identity Theft
    Charges read into record x Waived Reading of Charges            x Advised of Rights

on            xIndictment

x Government moves for detention.
Motion is x granted, temporary detention ordered

Next appearance date is October 27, 2014 at 11:00 am before U.S. Magistrate Judge Keyes in Courtroom 6A for:
 x Detention hrg        x Arraignment

x Government moves to unseal the case.                     x Granted

Additional Information:
                                                                                                        s/Wendi Tilden
                                                                                                      Courtroom Deputy




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